Case 2:20-cv-00359-GW-E Document 255-2 Filed 01/24/22 Page 1 of 12 Page ID #:18189




                          Exhibit 1
   Case 2:20-cv-00359-GW-E Document 255-2 Filed 01/24/22 Page 2 of 12 Page ID #:18190




From:                 Papacostas, Simeon
Sent:                 Monday, January 10, 2022 10:42 AM
To:                   Robert P. Parker
Cc:                   Shah, Kal; 'Bali, Salil'; Feit20-359; O'Hare, Bill (wohare@swlaw.com); Weldon, Elizabeth
                      (eweldon@swlaw.com); NichiaLIT
Subject:              RE: Nichia Corp. v Feit Elec. Co. Inc., Case No. 20-0359 (C.D. Cal.)


Dear Bob—

We reviewed the case law you sent over last week, and disagree with Nichia’s position. However, as that case law
relates to Dr. Lebby’s report, we do not believe that the issues presented warrant motion practice at this time. To that
end:

We will withdraw the Yamazaki reference at this time, but reserve our right to re‐present it if we find it necessary,
subject to the Court’s approval should we seek to assert it.

Regarding the Mano and Okamoto combinations, we disagree that they are improper or present new arguments,
because all of the references were previously charted in detail in Feit Electric’s Final Invalidity Contentions. See, e.g., See
Verinata Health Inc. v. Sequenom Inc., 2014 WL 4100638, at *6‐7 (N.D. Cal. Aug. 20, 2014). Our expert only reoriented
some combinations, as Feit Electric explicitly reserved the right to do in its contentions. See Final Invalidity Contentions
at 17. Dr. Lebby’s positions are neither new nor prejudicial, but merely the expert doing his job. If, despite having all of
the limitations at issue from these references previously charted in detail, Nichia insists on challenging their inclusion,
we are at an impasse.

Regarding Mr. Gershowitz’s report, we disagree that his positions are not new, particularly in view of Nichia’s positions
taken with respect to Dr. Lebby’s report. Nichia never provided arguments for claims 23 and 26 as used in the
Gershowitz report. Nichia never previously made arguments specific to the top and bottom wavelength conversion
members acting “in unison.” Similarly, Mr. Gershowitz’s new opinions that the boards, wiring, and other aspects of the
accused products are different, and his recategorization of the center and end portions as to the curved filament
products, were not previously disclosed.

Accordingly, we believe the parties are at an impasse on those aspects of the Gershowitz report, and Feit Electric plans
to move to strike those portions.

Regarding your proposal below, it appears that Nichia is suggesting that Feit Electric drop arguments without Nichia
reciprocating, while seeking to bar Feit Electric from challenging the improperly included arguments in the Gershowitz
report. Respectfully, we fail to see the “compromise” in your points below, and accordingly cannot agree to such a
proposal.

Best,
‐Simeon



Simeon Papacostas
Of Counsel
Litigation
Ph: 312.624.6360

                                                               1
   Case 2:20-cv-00359-GW-E Document 255-2 Filed 01/24/22 Page 3 of 12 Page ID #:18191

Cell: 203.645.1889

From: Robert P. Parker <rparker@rothwellfigg.com>
Sent: Friday, January 7, 2022 9:56 AM
To: Papacostas, Simeon <SPapacostas@beneschlaw.com>
Cc: Shah, Kal <KShah@beneschlaw.com>; 'Bali, Salil' <SBali@stradlinglaw.com>; Feit20‐359 <Feit20‐
359@beneschlaw.com>; O'Hare, Bill (wohare@swlaw.com) <wohare@swlaw.com>; Weldon, Elizabeth
(eweldon@swlaw.com) <eweldon@swlaw.com>; NichiaLIT <NichiaLIT@rothwellfigg.com>
Subject: FW: Nichia Corp. v Feit Elec. Co. Inc., Case No. 20‐0359 (C.D. Cal.)

Dear Simeon,

Nichia has confirmed its agreement to the proposal we raised yesterday, that is:

    1. Feit drops the Yamazaki reference and the Mano combination (Section V(A) of the Lebby report) and the
       Okamoto combination (Section V(D) of the Lebby report).
    2. Neither party will challenge the other parties’ opening expert reports based on any inconsistency with
       contentions.
    3. Neither party will supplement the opening Gershowitz and Lebby reports, unless based on new evidence or
       changed circumstances.
    4. Parties may file Daubert motions on grounds not precluded by point 2.
    5. The parties will file a joint stipulation incorporating these points.

We ask that Feit respond to this proposal by noon on Monday.

In further response to your email, please see the following points, which include a point‐by‐point response to your
email, including an explanation of Nichia’s position with respect to Feit’s objections to the Gershowitz report. If Feit
believes that Nichia’s positions on these points are, then we would be pleased to discuss the areas of disagreement later
today or next week.

    1. The Issues in Dispute

As an initial matter, you ask for specifics regarding the matters in dispute. We initially raised our objections to Dr.
Lebby’s report on December 16, 2021, and we provided specific references to the portions of the Lebby report that
raised concerns. We said:

        In general, we have at least three concerns regarding the Lebby report. First, the report relies on the Yamazaki
        reference (Sections V(B)‐(D)), which was not included in the contentions. Second, some of the combinations –
        including Mano (Section V(A)) and Okamoto (Section D V(D)) grounds – are new. Third, some of the §112
        positions – including lack of enablement of claim 18 (Section VI) and lack of written description of “board”
        (Section VII) – are new.

Our reference to Yamazaki, Mano (Section V(A)) and Okamoto (Section V(D)), and the section 112 arguments in Sections
VI and VII, long ago provided Feit with the specifics regarding the matters in dispute. Moreover, Feit’s December 17,
2021, response to our email then stated:

        As it relates to the Yamazaki reference, this reference is used on a limited basis and redundant of other art. It is
        also of record through discovery in this case.

        With respect to the Mano and Okamoto combination, both references were disclosed and used in combinations.
        Moreover, it is common for experts to provide preferred combinations based on disclosed references. And, of
        course, Feit Electric included the corresponding reservation of rights. Final Invalidity Contentions at 6 (“Feit
                                                              2
   Case 2:20-cv-00359-GW-E Document 255-2 Filed 01/24/22 Page 4 of 12 Page ID #:18192

        Electric further reserves the right to rely on any combination of the references cited in Exhibits A‐H, even if not
        explicitly set forth therein.”).

        Ultimately, at this juncture, we are not sure we will proceed with Yamazaki or the Mano/Okamoto
        combination on the merits.

As you can see, there has never been any confusion or miscommunication regarding the issues in dispute. Rather, since
December 17, during three conference calls and in several emails, we have asked for Feit’s position on whether it would
drop the new Yamazaki reference and the new Mano and Okamoto combinations. Feit did not respond to our requests
by email or during our three conference calls (December 18, 29 and January 5).

Indeed, we did not receive a response on this issue until you sent your email below after we told you that we intended
to file our motion the next day.

    2. The Gershowitz Report

Feit has never stated that our objections to the Lebby report are incorrect. Rather, after we raised our concerns
regarding the Lebby report, Feit scanned the Gershowitz report to find any material that it could bargain with. Now, Feit
offers to drop some of its purported objections to the Gershowitz report in exchange for Nichia’s agreement to drop
some of its objections to the Lebby report. As explained below, we believe that Feit’s objections are weak at best, and
possibly frivolous.

Feit Objection 1: “First, while Nichia provided very limited positions with respect to claims 23 and 26 in infringement
contentions (see Contentions at pages 6‐8), Mr. Gershowitz improperly broadens them in his expert report, for example,
by applying them for the first time in claim charts. (see, e.g., Claim Chart Exhibit CC‐01) in a much broader context than
disclosed.”

Response: Nichia addresses claims 23 and 26 on pages 6 and 7 of its Final Infringement Contentions as follows:

        Model Numbers S14/822/FILED/4, S14/822/FILED/4/6, 72121, 72122, S14/822/PC/24, BP20T61/2/LED/HDRP,
        BP20T61/2/LED/HDRP/6, BP20T61/2/SULED, P20T61/2/SU/LED, BP40T61/2/LED/HDRP,
        BP40T61/2/LED/HDRP/6, BPT61/2/SU/LED, Feit Electric 48' LED Filament String Light Set (Item 1246612), and
        Feit Electric 48’ LED Filament String Light Set (Item 710090) (fourteen of the Accused Straight‐Filament Products)
        and VB/S/CL/820/FIL (one of the Accused Curved‐ Filament Products) are also accused of infringing claims 23
        and 26 under 35 U.S.C. § 271(a). Claim 23 depends from claim 1 and further requires “wherein the support leads
        extend from the support base towards the pair of metal plates.” Claim 26 has all of the limitations of claim 1,
        except that (i) the limitation in claim 1 requiring “wherein the pair of metal plates are electrically connected with
        the support base via the support leads,” is not required by claim 26, and (ii) claim 26 further requires “wherein
        the support leads extend from the support base towards the pair of metal plates.” As shown in the figures
        below, the support leads in such bulbs extend from the support base towards the pair of metal plates. As
        demonstrated in Exhibits A and B, these bulbs also meet the other claim elements.

Nichia charted claim 1, and identified the different elements in claims 23 and 26. Nichia then provided 12 photos
showing that element – the support leads in the accused products extend from the support base towards the pair of
metal plates. We fail to see how this explanation falls short of the requirement that the contentions put Feit on notice
of Nichia’s infringement position.

Objection 2: “Second, Mr. Gershowitz’s position regarding light emission, e.g., that ‘light emitted from the plurality of
LED chips of the Accused Products is converted by the portions of the wavelength conversion member on both the first
surface side and the second surface at the same time’ (Report at para. 150) and that ‘even if the two portions are not
physically connected, they function in unison’ is not disclosed in Nichia’s contentions (id.).’”


                                                             3
   Case 2:20-cv-00359-GW-E Document 255-2 Filed 01/24/22 Page 5 of 12 Page ID #:18193

Response: This is not correct. For example, please see Exhibit A, page A37 of Nichia’s final infringement contentions,
which shows the following:

  1.8      wherein the               In the accused products, the wavelength conversion member is provided on
           wavelength                and the second surface side, the wavelength conversion member is elongated
           member is provided        direction when viewed in plan view of the first surface side of the board.
           the first surface side    See images with respect claim elements 1.1-1.3 above, which show the first
           and the second            and second surfaces of the board, and the relative location of the
           surface side, the         wavelength conversion member
           conversion member         In particular, the yellow encapsulant material is a single component that both
           elongated in the          wavelength and allows light to pass through. The encapsulant material on both
           longitudinal               id isf connected
                                     board      h           to each other (e.g., by resin coating the sides and/or ends
           when viewed in plan        f hextent
                                     the    b there
                                                  d) T are one or more physical or compositional discontinuities
                                     between the
           view of the first         encapsulant on the top and bottom, the encapsulant material is still provided
           surface side of the           b requires.
                                     claim  h id       Toh the extent that Feit alleges this does not literally infringe,
           board,                    Ni  hi          d
                                     that this is an insubstantial difference, and encapsulant material with a
                                     di
                                     doctrinei ofi equivalents.
                                                        i fi hFor example, this would not materially alter the
                                      l i   d  li h     i i component performs the same function (being capable of
                                     device. Further, the
                                     wavelength of light from, respectively, the first surface side and second
                                     board) in the same way (by phosphor embedded in a transparent resin) to
                                     (generating a desired color of light, e.g. white).


In short, Feit was on notice of Nichia’s position that the wavelength conversion member operates as a single unit, even if
there is a discontinuity.

Objection 3: “Third, as it relates to representativeness, Nichia’s Contentions state that ‘[b]ecause the components are
the same in all Feit LED filament‐style bulbs (they do not materially differ with respect to the Straight‐Filament Claims or
the Curved‐Filament Claims), the annotations Nichia provides in the accompanying charts can be applied, mutatis
mutandis, to each of the accused products.’ Yet, Mr. Gershowitz opines that the boards are different, the wiring is
different and ‘the different categories are germane to the infringement analysis that I have provided in this report and in
the accompanying claim charts’ (see, e.g., Report at paras. 234 and 237).”

Response: In paragraph 234, Mr. Gershowitz explains that the categorization of bulbs into straight‐filament bulbs and
curved‐filament bulbs is not ambiguous or arbitrary, and that it tracks Feit’s own categorization. As explained in Nichia’s
contentions (page 6), this point is drawn from the Court’s decision denying Feit’s motion to strike Nichia’s infringement
contentions. See Dkt. 59 at 5‐6.

Paragraph 237 of the Gershowitz report states the following:

        237. For example, the type, shape, nature, number, and size of the board or boards being used in the Accused
        Products is not material. Claim 1 requires a board – it does not matter whether the board is ceramic, sapphire,
        or something else; it does not matter if the product has multiple LED filaments and therefore multiple boards,
        the claims are satisfied with a single LED filament and a single board; and it does not matter what the
        dimensions of the board are. As relevant to the claims, products having boards of different type, shape, nature,
        number, and size infringe for the reasons I have explained in the accompanying charts. Moreover, Straight‐
        Filament Products tend to have similar boards, of similar material, to each other; and, likewise, Curved‐Filament
        Products tend to have similar boards, of similar material, to each other. Accordingly, the categorization of
        straight and curved filament is germane to the infringement analysis I have provided.


                                                             4
   Case 2:20-cv-00359-GW-E Document 255-2 Filed 01/24/22 Page 6 of 12 Page ID #:18194

The point that the boards in straight‐ and curved‐filament products are different (rigid or flexible) is the basis for
separating them into different categories. This is not new to the report, and Nichia’s contentions put Feit on notice that
the boards are different in straight and curved filament products. That the wiring is different should have been
apparent to Feit, as the contentions assert claim 12 (requiring series connection) against the straight products but not
the curved products, and this fact was drawn out both in the briefing and in the Court’s order denying Feit’s motion to
strike Nichia’s initial infringement contentions.

Objection 4: “Fourth, Nichia provided its positions with respect to the curved filament products in its infringement
contentions (see, e.g., Contentions at B5 and B18), with all filaments extracted from the units. Mr. Gershowitz’s report
inappropriately introduces new positions by recategorizing the center portion and end portions. See Claim Chart Exhibit
CC‐23 at 4‐9 and 36‐41. Moreover Mr. Gershowitz also attempts to find infringement by reorienting and labeling the
units different [sic] from what was disclosed in Nichia’s contentions.”

Response: Both the contentions and the Gershowitz report show annotated curved filaments with the filament
attached to the bulb, and the filaments removed from the bulb. Here are the photos from Nichia’s contentions:

Page B5, B6




                           c~n•~r p, ,r11011


                                                               disn., ~mhkd ,·kw I
                                                             ( ·•nlar g~'fl imug~ ne:u•



Here are the photos from the Gershowitz report, Ex. CC‐23


PP. 4‐6




          --1 endl oortion,s 1---               center oortion




PP. 39‐40



                                                            5
      Case 2:20-cv-00359-GW-E Document 255-2 Filed 01/24/22 Page 7 of 12 Page ID #:18195




There is no significant difference between the photos in the contentions and the Gershowitz report, and certainly no
difference that would have prevented Feit from having fair notice of Nichia’s contentions.

***

For the reasons stated above, Nichia believes that Feit’s motion to strike the Gershowitz report would be weak at best,
and possibly frivolous. There is no case law to the effect that the contentions and the expert reports have to be exactly
the same – in fact, the case law is to the contrary.

As indicated above, please let us know whether you agree with Nichia’s proposal. If not, please let us know when you
are available to continue discussions regarding the points addressed above so that we can better understand Feit’s
position.

Best regards,

RPP



From: Robert P. Parker
Sent: Thursday, January 6, 2022 2:13 PM
To: 'Papacostas, Simeon' <SPapacostas@beneschlaw.com>; Shah, Kal <KShah@beneschlaw.com>; NichiaLIT
<NichiaLIT@rothwellfigg.com>
Cc: Bali, Salil <SBali@stradlinglaw.com>; Feit20‐359 <Feit20‐359@beneschlaw.com>; O'Hare, Bill (wohare@swlaw.com)
<wohare@swlaw.com>; Weldon, Elizabeth (eweldon@swlaw.com) <eweldon@swlaw.com>
Subject: RE: Nichia Corp. v Feit Elec. Co. Inc., Case No. 20‐0359 (C.D. Cal.)

         Dear Simeon,

         Thanks for your email. There are aspects of your proposal that are not entirely clear, but we believe there might
         be grounds for compromise as follows:

      1. Feit drops the Yamazaki reference, the Mano combination (Section V(A) of the Lebby report), and the Okamoto
         combination (Section V(D) of the Lebby report).
              2. Neither party will challenge the other party’s opening expert reports based on any inconsistency with
                 the party’s contentions.
              3. Neither party will supplement the opening Gershowitz and Lebby reports, unless based on new evidence
                 or changed circumstances.
              4. Parties may file Daubert motions on grounds not precluded by point 2.
              5. The parties will file a joint stipulation incorporating these points.

         We have not yet discussed this counter‐proposal with Nichia, but will do so tonight, and we will report on
         Nichia’s position in the morning. We would appreciate your doing the same with Feit, so if both parties agree,
         we can resolve these issues tomorrow (Friday). We intend to proceed with filing our motion on Monday, but as
         we discussed yesterday, we are amenable to continuing discussions after we file if necessary.

                                                             6
       Case 2:20-cv-00359-GW-E Document 255-2 Filed 01/24/22 Page 8 of 12 Page ID #:18196

           Best,

           Bob



From: Papacostas, Simeon <SPapacostas@beneschlaw.com>
Sent: Wednesday, January 5, 2022 5:24 PM
To: Robert P. Parker <rparker@rothwellfigg.com>; Shah, Kal <KShah@beneschlaw.com>; NichiaLIT
<NichiaLIT@rothwellfigg.com>
Cc: Bali, Salil <SBali@stradlinglaw.com>; Feit20‐359 <Feit20‐359@beneschlaw.com>; O'Hare, Bill (wohare@swlaw.com)
<wohare@swlaw.com>; Weldon, Elizabeth (eweldon@swlaw.com) <eweldon@swlaw.com>
Subject: RE: Nichia Corp. v Feit Elec. Co. Inc., Case No. 20‐0359 (C.D. Cal.)

Dear Bob—

Following up on today’s meet and confer, our understanding as to the parties’ positions is as follows:

          Nichia is unwilling to withdraw any of the arguments in the Gershowitz report that we have identified as
           improper in Kal’s December 29, 2021 email to you.
          As to the Yamazaki reference in Dr. Lebby’s report, we are willing to withdraw that reference, and so Nichia’s
           objection to the use of that reference would be rendered moot.
          As to the Mano and Okamoto references, please provide the specific combinations that you object to, and we
           will promptly let you know our position on each such combination, in light of the case law you provided us
           during our call.

Moreover, in an effort to avoid burdening the Court with costly and potentially unnecessary motion practice, we
reiterate our offer to drop our objection to Nichia’s assertion of claims 23 and 26, if Nichia drops its objection to the
Mano and Okamoto combinations.

Please let us know your positions.

Best,
‐Simeon



Simeon Papacostas
Of Counsel
Litigation
Ph: 312.624.6360
Cell: 203.645.1889

From: Robert P. Parker <rparker@rothwellfigg.com>
Sent: Wednesday, January 5, 2022 3:26 PM
To: Shah, Kal <KShah@beneschlaw.com>; NichiaLIT <NichiaLIT@rothwellfigg.com>
Cc: Bali, Salil <SBali@stradlinglaw.com>; Feit20‐359 <Feit20‐359@beneschlaw.com>; O'Hare, Bill (wohare@swlaw.com)
<wohare@swlaw.com>; Weldon, Elizabeth (eweldon@swlaw.com) <eweldon@swlaw.com>
Subject: RE: Nichia Corp. v Feit Elec. Co. Inc., Case No. 20‐0359 (C.D. Cal.)

Kal,

As discussed, here are some caselaw sites regarding motions to strike new materials in expert reports:

                                                               7
      Case 2:20-cv-00359-GW-E Document 255-2 Filed 01/24/22 Page 9 of 12 Page ID #:18197


Courts will strike portions of an expert’s invalidity report that were not originally included in the party’s contentions. See
Asus Comput. Int'l v. Round Rock Research, LLC, No. 12–2099, 2014 WL 1463609, at *1 (N.D. Cal. Apr. 11, 2014) (“[A]
party may not use an expert report to introduce . . . new invalidity theories, or new prior art references not disclosed in
the parties’ . . .invalidity contentions”); MediaTek Inc. v. Freescale Semiconductor, Inc., No. 11‐5341, 2014 WL 690161, at
*1 (N.D. Cal. Feb. 21, 2014) (“Any invalidity theories not disclosed pursuant to [the] Local Rule…are barred, accordingly,
from presentation at trial (whether through expert opinion testimony or otherwise).”); Verinata Health, Inc. v.
Sequenom, Inc., No. 12‐865, 2014 WL 4100638, *7‐8 (N.D. Cal. Aug. 20, 2014) (striking expert opinion on references that
were not disclosed or where not fully charted in invalidity contentions).
Both the Ninth Circuit and Federal Circuit have concluded that “the exclusion of evidence is often an appropriate
sanction for a party’s failure to comply with the patent local rules.” Phigenix, Inc. v. Genentech, Inc., 783 F. App’x 1014,
1020 (Fed. Cir. 2019) (citing O2 Micro Int’l Ltd. v. Monolithic Power Sys., Inc., 467 F.3d 1355, 1369 (Fed. Cir. 2006));
SanDisk Corp. v. Memorex Prods., Inc., 415 F.3d 1278, 1292 (Fed. Cir. 2005) (finding no abuse of discretion in exclusion of
evidence pertaining to theories of claim construction and infringement not disclosed as required by the local patent
rules and the court's scheduling order); Wong v. Regents of Univ. of Cal., 410 F.3d 1052, 1060 (9th Cir. 2005) (“Parties
must understand that they will pay a price for failure to comply strictly with scheduling and other orders, and that failure
to do so may properly support severe sanctions and exclusions of evidence.”).
“[T]he threshold question in deciding whether to strike an expert report is whether the expert has permissibly specified
the application of a disclosed theory or impermissibly substituted a new theory altogether.” Finjan, Inc. v. Sophos, Inc.,
No. 14‐1197, 2016 WL 2988834, at *5 (N.D. Cal. May 24, 2016) (quoting Digital Reg of Tex., LLC v. Adobe Sys. Inc., No.
12‐1971, 2014 WL 1653131, at *5 (N.D. Cal. Apr. 24, 2014)); Genentech Inc. v. Trs. of the Univ. of Pa., No. 10‐2037, 2012
WL 424985, *2 (N.D. Cal. Feb. 9, 2012) (“Courts “look[] to the nature and scope of the theory . . . disclosed and whether
the challenged report section merely provides an evidentiary example or complementary proof in support thereof, or
itself advances a new or alternate” theory). At least one district court has framed the relevant question as: “will striking
the report result in not just a trial, but an overall litigation, that is more fair, or less?”

From: Shah, Kal <KShah@beneschlaw.com>
Sent: Wednesday, January 5, 2022 2:14 PM
To: Robert P. Parker <rparker@rothwellfigg.com>; NichiaLIT <NichiaLIT@rothwellfigg.com>
Cc: Bali, Salil <SBali@stradlinglaw.com>; Feit20‐359 <Feit20‐359@beneschlaw.com>; O'Hare, Bill (wohare@swlaw.com)
<wohare@swlaw.com>; Weldon, Elizabeth (eweldon@swlaw.com) <eweldon@swlaw.com>
Subject: RE: Nichia Corp. v Feit Elec. Co. Inc., Case No. 20‐0359 (C.D. Cal.)

Hello Bob,

Thank you for the response. Please be prepared to meet and confer on these issues this afternoon as well as we plan to
move to strike.

If you need additional time, please let us know.

Best,

Kal

Kal K. Shah
Chair, Intellectual Property Litigation Practice Group
Litigation
Ph: 312.212.4979
Cell: 312.909.0054



                                                              8
        Case 2:20-cv-00359-GW-E Document 255-2 Filed 01/24/22 Page 10 of 12 Page ID
                                         #:18198
From: Robert P. Parker <rparker@rothwellfigg.com>
Sent: Wednesday, January 5, 2022 12:52 PM
To: Shah, Kal <KShah@beneschlaw.com>; NichiaLIT <NichiaLIT@rothwellfigg.com>
Cc: Bali, Salil <SBali@stradlinglaw.com>; Feit20‐359 <Feit20‐359@beneschlaw.com>; O'Hare, Bill (wohare@swlaw.com)
<wohare@swlaw.com>; Weldon, Elizabeth (eweldon@swlaw.com) <eweldon@swlaw.com>
Subject: RE: Nichia Corp. v Feit Elec. Co. Inc., Case No. 20‐0359 (C.D. Cal.)

Kal,

Nichia does not agree that the positions Mr. Gershowitz has taken are “improper.”

To your first point, you concede that Nichia asserted claims 23 and 26 in its contentions, and we do not agree
that there has been any change in the infringement theory being alleged. To your second point, Nichia did not
change what it contends to be the wavelength conversion member in the accused products, or its theory of
infringement related to that member; instead, Mr. Gershowitz simply responded to arguments that Feit had
made in written discovery. To your third point, it is not new that Nichia contends “that the boards are
different, the wiring is different and ‘the different categories are germane to the infringement analysis that I
have provided in this report and in the accompanying claim charts.’” Indeed, as the Court noted in its order
denying Feit’s motion to strike Nichia’s initial contentions, the germaneness of the categories to the
infringement analysis is the reason why they were presented in the contentions in the first place. The fourth
point is incorrect ‐‐ in addition to showing the filament removed from the bulb, the contentions also show the
filament within the bulb in the curved configuration. No infringement theory has changed at all.

You have indicated that Feit’s investigation is ongoing. If you have any additional information to provide, let
us know by email or we can discuss it during our conference call.

Best,

Bob

From: Shah, Kal <KShah@beneschlaw.com>
Sent: Wednesday, January 5, 2022 9:44 AM
To: Robert P. Parker <rparker@rothwellfigg.com>; NichiaLIT <NichiaLIT@rothwellfigg.com>
Cc: Bali, Salil <SBali@stradlinglaw.com>; Feit20‐359 <Feit20‐359@beneschlaw.com>; O'Hare, Bill (wohare@swlaw.com)
<wohare@swlaw.com>; Weldon, Elizabeth (eweldon@swlaw.com) <eweldon@swlaw.com>
Subject: FW: Nichia Corp. v Feit Elec. Co. Inc., Case No. 20‐0359 (C.D. Cal.)

Bob,

In advance of our call this afternoon, please provide Nichia’s positions on the below concerns.

Thank you,

Best,

Kal

Kal K. Shah
Chair, Intellectual Property Litigation Practice Group

                                                            9
        Case 2:20-cv-00359-GW-E Document 255-2 Filed 01/24/22 Page 11 of 12 Page ID
                                         #:18199
Litigation
Ph: 312.212.4979
Cell: 312.909.0054

From: Shah, Kal <KShah@beneschlaw.com>
Sent: Wednesday, December 29, 2021 10:08 AM
To: Robert P. Parker <rparker@rothwellfigg.com>; Papacostas, Simeon <SPapacostas@beneschlaw.com>; Smith,
Katherine A. <KSmith@beneschlaw.com>; NichiaLIT <NichiaLIT@rothwellfigg.com>; O'Hare, Bill <wohare@swlaw.com>;
Weldon, Elizabeth <eweldon@swlaw.com>
Cc: Feit20‐359 <Feit20‐359@beneschlaw.com>; Salil Bali <SBali@stradlinglaw.com>; Crummett‐Smith, Jennifer
<jcrummett@stradlinglaw.com>
Subject: RE: Nichia Corp. v Feit Elec. Co. Inc., Case No. 20‐0359 (C.D. Cal.)

Good Morning Bob,

As discussed last week, Feit Electric also has concerns regarding Nichia’s expert overreach in light of what was previously
disclosed by Nichia. While our investigation continues, we have identified at least four arguments made by Mr.
Gershowitz that are improper.

First, while Nichia provided very limited positions with respect to claims 23 and 26 in infringement contentions (see
Contentions at pages 6‐8), Mr. Gershowitz improperly broadens them in his expert report, for example, by applying
them for the first time in claim charts. (see, e.g., Claim Chart Exhibit CC‐01) in a much broader context than disclosed.

Second, Mr. Gershowitz’s position regarding light emission, e.g., that “light emitted from the plurality of LED chips of the
Accused Products is converted by the portions of the wavelength conversion member on both the first surface side and
the second surface at the same time” (Report at para. 150) and that “even if the two portions are not physically
connected, they function in unison” is not disclosed in Nichia’s contentions (id.).

Third, as it relates to representativeness, Nichia’s Contentions state that “[b]ecause the components are the same in all
Feit LED filament‐style bulbs (they do not materially differ with respect to the Straight‐Filament Claims or the Curved‐
Filament Claims), the annotations Nichia provides in the accompanying charts can be applied, mutatis mutandis, to each
of the accused products.” Yet, Mr. Gershowitz opines that the boards are different, the wiring is different and “the
different categories are germane to the infringement analysis that I have provided in this report and in the
accompanying claim charts” (see, e.g., Report at paras. 234 and 237).

Fourth, Nichia provided its positions with respect to the curved filament products in its infringement contentions (see,
e.g., Contentions at B5 and B18), with all filaments extracted from the units. Mr. Gershowitz’s report inappropriately
introduces new positions by recategorizing the center portion and end portions. See Claim Chart Exhibit CC‐23 at 4‐9 and
36‐41. Moreover Mr. Gershowitz also attempts to find infringement by reorienting and labeling the units different from
what was disclosed in Nichia’s contentions.

At this juncture, we are still evaluating our options; however, please let me know if Nichia will withdraw some or all of
these positions. I suggest we have a follow‐up discussion next week to discuss our respective concerns and the need for
corresponding motion practice.

Best,

Kal

Kal K. Shah
Chair, Intellectual Property Litigation Practice Group

                                                             10
        Case 2:20-cv-00359-GW-E Document 255-2 Filed 01/24/22 Page 12 of 12 Page ID
                                         #:18200
Litigation
Ph: 312.212.4979
Cell: 312.909.0054

From: Robert P. Parker <rparker@rothwellfigg.com>
Sent: Monday, December 20, 2021 10:12 AM
To: Papacostas, Simeon <SPapacostas@beneschlaw.com>; Smith, Katherine A. <KSmith@beneschlaw.com>; NichiaLIT
<NichiaLIT@rothwellfigg.com>; O'Hare, Bill <wohare@swlaw.com>; Weldon, Elizabeth <eweldon@swlaw.com>
Cc: Feit20‐359 <Feit20‐359@beneschlaw.com>; Salil Bali <SBali@stradlinglaw.com>; Crummett‐Smith, Jennifer
<jcrummett@stradlinglaw.com>
Subject: RE: Nichia Corp. v Feit Elec. Co. Inc., Case No. 20‐0359 (C.D. Cal.)

Kal, Simeon, et al.,

Thanks for the call last week. Here is a summary of the points we discussed, so they don’t get lost in the ether.

        1. Nichia agrees to the proposed stipulation on the extension of time for responsive expert reports as Simeon
        proposed. Will Feit be preparing a stipulation to that effect?

        2. As to the Matsumoto deposition, we asked for a LR 37 letter so we are clear on what motion Feit proposes to
        file, and the basis for the motion. Someone on the Feit side (Kal or Katie, I believe) also mentioned case law to
        the effect that there is no attorney‐client privilege/work product protection with respect to verification matters,
        and we would appreciate citations to the relevant cases.

        3. With respect to the Lebby report, Feit will look into whether it will continue to assert grounds of invalidity
        based on (i) the Yamazaki reference, and (ii) the Mano and Okamoto combinations. We look forward to
        receiving Feit’s response so that we can plan accordingly, including whether to file a motion in early January.

Please let us know if you have any comments.

Many thanks,

Bob




From: Papacostas, Simeon <SPapacostas@beneschlaw.com>
Sent: Thursday, December 16, 2021 1:38 PM
To: Robert P. Parker <rparker@rothwellfigg.com>; Smith, Katherine A. <KSmith@beneschlaw.com>; NichiaLIT
<NichiaLIT@rothwellfigg.com>; O'Hare, Bill <wohare@swlaw.com>; Weldon, Elizabeth <eweldon@swlaw.com>
Cc: Feit20‐359 <Feit20‐359@beneschlaw.com>; Salil Bali <SBali@stradlinglaw.com>; Crummett‐Smith, Jennifer
<jcrummett@stradlinglaw.com>
Subject: RE: Nichia Corp. v Feit Elec. Co. Inc., Case No. 20‐0359 (C.D. Cal.)

Hi Bob—

Thanks. That’s correct. We served an opening report only from Dr. Lebby, and we received the four reports from Nichia
listed in your two emails below.




                                                             11
